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                              UNITED STATES DISTRICT
                            COURT NORTHERN DISTRICT OF
                             ILLINOIS EASTERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
Plaintiff,                                   )
                                             )
                              V.             )       No. 21CR505
TANGTANG ZHAO,                               )
                                             )
Defendant.                                   )

                 MOTIONS IN LIMINE TO BAR OPINION TESTIMONY

    NOW COMES, the Defendant, Tangtang Zhao, by and through his attorneys, Gal

 Pissetzky and Jennifer Snyder, and respectfully requests that this Honorable Court bar, In

 Limine, opinion testimony relating to a witness’s opinion as to whether the Covid-19

 vaccination record card is government property. In support, Mr. Zhao states:

    Here, based on conversations with the government, it intends to elicit lay opinion testimony

from certain witnesses asserting that they believed the Covid-19 vaccination record cards were

government property. Any such testimony must be barred.

    Under Rule 701, “if a witness is not testifying as an expert, testimony in the form of opinion

is limited to one that is: (a) rationally based on the witness’s perception; (b) helpful to clearly

understanding the witness’s testimony or to determining a fact in issue; and (c) not based on

scientific, technical, or other specialized knowledge within the scope of Rule 702.” Fed.R.Evid.

701. Under Rule 704, an expert opinion “is not objectionable just because it embraces an ultimate

issue.” Fed.R.Evid 704. For an opinion to be admissible under either rule, “the opinion must be

helpful to the trier of fact, and Rule 403 provides for exclusion of evidence which wastes time.

These provisions afford ample assurances against the admission of opinions which would merely

tell the jury what result to reach, somewhat in a manner of the oath-helpers of an earlier day.”



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Fed.R.Evid. 704 Advisory Committee Note.

   More specifically, “Rule 701(b) assures against the admissibility of opinions which would

merely tell the jury what result to reach. United States v. Wantuch, 525 F.3d 505, 513 (7th Cir.

2008)(citing to Fed.R.Evid. 704 Advisory Committee Note on 1972 Proposed Rule). “Lay opinion

testimony is admissible only to help the jury or the court to understand the facts about which the

witness is testifying.” Id. “Attempts to introduce meaningless assertions which amount to little

more than choosing up sides require exclusion for lack of helpfulness by Rule 701.” Id. at 514.

Here, the question of whether, in the witness’s opinion, the Covid-19 vaccination record cards are

property of the government demands a legal conclusion and is unhelpful to the jury under Rule

701. Any such opinion is nothing more than “a meaningless assertion which amounts to little more

than choosing up sides.” Id. Therefore, this court must bar the government from asking any of its

witnesses to testify that in their opinion the Covid-19 vaccination record cards are the property of

the government.



                                              Respectfully Submitted,

                                              /s/ Gal Pissetzky
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                                CERTIFICATE OF SERVICE

   The undersigned, Gal Pissetzky, hereby certifies that in accordance with Fed.R.Crim.P. 49,
Fed.R.Civ.P. 5, and the General Order on Electronic Case Filing (ECF), the attached Motion In
Limine To Bar Opinion Testimony was served on June 9, 2023, pursuant to the district court’s
ECF filers.


                                                      Respectfully submitted,

                                                  /s/Gal Pissetzky___________
                                                  Gal Pissetzky




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